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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

UNITED STATES OF AMERICA,
                                                 CR-20-68-GF-BMM
                Plaintiff,
      vs.

DAKODA BLU WADE IRON SHIRT,                               ORDER

                Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on June 8, 2022. (Doc. 36.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Bad Old Man v. Arn, 474 U.S. 140, 153-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on June 7, 2022. (Doc. 131.)

The United States accused Dakoda Blu Wade Iron Shirt (Iron Shirt) of violating his
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conditions of supervised release by failing to successfully complete his 180-day

term at the Great Falls Residential Re-Entry Center. (Doc. 29.)

      At the revocation hearing, Iron Shirt admitted that he had violated the

conditions of his supervised release by failing to successfully complete his 180-day

term at the Great Falls Residential Re-Entry Center. (Doc. 31.) Judge Johnston

found that the violation Iron Shirt admitted proved to be serious and warranted

revocation, and recommended that Iron Shirt receive a custodial sentence of 2

months, with 46 months of supervised release to follow. Judge Johnston

recommended Iron Shirt receive credit for time served and that Iron Shirt’s release

conditions include a requirement that he successfully complete a mental health

treatment program as directed by his probation officer. (Doc. 36 .) Iron Shirt was

advised of his right to appeal and his right to allocute before the undersigned.

(Doc. 31.)

      Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 36) are ADOPTED IN FULL. IT IS FURTHER

ORDERED that Defendant Dakoda Blu Wade Iron Shirt be sentenced to the

Bureau of Prisons for 2 months, with credit for time served, with 46 months of

supervised release to follow.
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DATED this 24th day of June, 2022.
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